Case 1:18-cr-00083-TSE Document 83-1 Filed 06/11/18 Page 1 of 5 PageID# 1551




                    IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division


UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No. 1:18 Cr. 83 (TSE)
                                             )
PAUL J. MANAFORT, JR.,                       )
                                             )
                                             )
                      Defendant              )



                                             ORDER

       Upon the motion of the defendant, Paul J. Manafort, Jr., by and through counsel, and with

the agreement of the government, by and through its counsel, it is hereby,

                                   I. Discovery and Inspection

       ORDERED pursuant to FED. R. CRIM. P. 16(a), that no later than seven calendar

days before trial, unless for good cause shown:

       1. The government shall disclose to the defendant and make available for inspection,

copying, or photographing: any relevant written or recorded statements made by the defendant,

or copies thereof, within the possession, custody, or control of the government, the existence of

which is known, or by the exercise of due diligence may become known, to the attorney for the

government; that portion of any written record containing the substance of any relevant oral

statement made by the defendant whether before or after arrest in response to interrogation by

any person then known to the defendant to be a government agent; recorded testimony of the

defendant before a grand jury which relates to the offense charged; and the substance of any
Case 1:18-cr-00083-TSE Document 83-1 Filed 06/11/18 Page 2 of 5 PageID# 1552




other relevant oral statement made by the defendant whether before or after arrest in response to

interrogation by any person then known by the defendant to be a government agent if the

government intends to use that statement at trial.

       2. The government shall furnish to the defendant such copy of his prior criminal record,

if any, as is within the possession, custody, or control of the government, the existence of which

is known, or by the exercise of due diligence may become known, to the attorney for the

government.

       3. The government shall permit the defendant to inspect and copy or photograph books,

papers, documents, data, photographs, tangible objects, buildings or places, or copies or portions

thereof, which are within the possession, custody or control of the government, and which are

material to the preparation of his defense or are intended for use by the government as evidence

in chief at the trial, or were obtained from or belong to the defendant.

       4. The government shall permit the defendant to inspect and copy or photograph any

results or reports of physical or mental examinations, and of scientific tests or experiments, or

copies thereof, which are within the possession, custody, or control of the government, the

existence of which is known, or by the exercise of due diligence may become known to the

attorney for the government, and which are material to the preparation of the defense or are

intended for use by the government as evidence in chief at the trial.

       It is further ORDERED that

       5. The government shall disclose to the defendant no later than ten business days before

trial, a written summary of testimony the government intends to use under Rules 702, 703, or

705, FEDERAL RULES OF EVIDENCE, at trial, unless the expert testimony is to be offered in

response to a previously-noticed expert of a defendant, in which case the disclosure pursuant to
Case 1:18-cr-00083-TSE Document 83-1 Filed 06/11/18 Page 3 of 5 PageID# 1553




this paragraph must be provided not later than five business days prior to trial. This summary

shall describe the witnesses’ opinions, the bases and reasons therefor, and the witnesses’

qualifications. In an appropriate case, and for good cause shown, either party may move the

Court for an Order requesting earlier or later disclosure of expert witness notice and summaries.

       It is further ORDERED pursuant to FED. R. CRIM. P. 16(b), that upon government

compliance with the foregoing,

       6. The defendant shall permit the government to inspect and copy or photograph books,

papers, documents, data, photographs, tangible objects, or copies or portions thereof, which the

defendant intends to use in the defendant’s case-in-chief at trial.

       7. The defendant shall permit the government to inspect and copy or photograph any

results or reports of physical or mental examination and of scientific test or experiments made in

connection with the particular case, or copies thereof, within the possession or control of the

defendant, which the defendant intends use in the defendant’s case-in-chief at trial or which were

prepared by a witness whom the defendant intends to call at the trial when the results or reports

relate to his testimony.

       8. The defendant shall disclose to the government no later than ten business days before

trial, a written summary of testimony the defendant intends to use under Rules 702, 703, and

705, FEDERAL RULES OF EVIDENCE, as evidence at trial unless the expert testimony is to be

offered in response to a previously-noticed expert of the government, in which case the

disclosure pursuant to this paragraph must be provided not later than five business days prior to

trial. This summary shall describe the witnesses’ opinions, the bases and reasons therefor, and

the witnesses’ qualifications. In an appropriate case, and for good cause shown, either party may
Case 1:18-cr-00083-TSE Document 83-1 Filed 06/11/18 Page 4 of 5 PageID# 1554




move the Court for an Order requesting earlier or later disclosure of expert witness notice and

summaries.

                             II. FEDERAL RULE OF EVIDENCE 404(b)

       It is further ORDERED that, no later than seven calendar days before trial, the

government shall provide notice to the defendant, in accordance with FED. R. EVID. 404(b), of

the general nature of any evidence of other crimes, wrongs, or acts of defendant which it intends

to introduce at trial, except that, upon motion of the government and for good cause shown, the

court may excuse such pretrial notice.

                                         III. Brady Material

       It is further ORDERED that the government shall comply with its obligations to produce

promptly exculpatory material as required by Brady v. Maryland, 373 U.S. 83 (1963) and United

States v. Agurs, 427 U.S. 97 (1976).

                                   IV. Jencks/Giglio Materials

       It is further ORDERED that, no later than five calendar days before trial, the government

shall produce to the defendant the Jencks Act and Giglio materials for the witnesses who will

testify in the government’s case in chief.

       Counsel for the defendant may disclose the contents of said Jencks Act and Giglio

materials to his client, but may not provide his client with said documents or reproductions

thereof.

       At the request of the government and consistent with the ethical responsibilities of

defense counsel, all Jencks Act, Giglio materials and reproductions thereof shall be returned to

the United States Attorney’s Office forthwith at the conclusion of the litigation of the case.
Case 1:18-cr-00083-TSE Document 83-1 Filed 06/11/18 Page 5 of 5 PageID# 1555




        It is further ORDERED pursuant to FED. R. CRIM. P. 26.2, that no later than five calendar

days prior to trial, the defendant, by and through his counsel, shall produce to the government the

statements of any witness, other than the defendant, who will testify on behalf of the defendant.

                                          V. Notice of Alibi

        It is further ORDERED pursuant to FED. R. CRIM. P. 12.1 that, no later than 20

calendar days before trial, the defendant, by and through counsel, shall comply with Rule 12.1(a)

if the defendant intends to offer a defense of alibi, and further that the defendant and the

government shall comply with Rules 12.1(b) and (c) within the time period set out in those rules,

except upon motion of the parties and for good cause shown.

                                           VI. Stipulations

        It is further ORDERED that the parties shall file proposed stipulations with the Court no

later than three business days before trial. Additional stipulations may be submitted thereafter by

the parties upon approval by the Court.




Date:
        Alexandria, Virginia


We ask for this:                                ROBERT S. MUELLER III
                                                    Special Counsel


                                          By:
Kevin Downing                                   Andrew Weissmann
Thomas Zehnle                                   Greg D. Andres
Counsel for Defendant                           Special Assistant United States Attorneys
                                                Senior Special Assistant Counsels
